             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 1 of 15




1    Marc S Janowitz (SBN 96765)
     EAST BAY COMMUNITY LAW CENTER
2
     2921 Adeline St.
3    Berkeley, CA 94703
     t: 510-548-4040
4    f: 510-548-2566
     e: mjanowitz@ebclc.org
5

6    Attorney for Amicus Curiae

7

8                             UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
10

11   JOHN WILLIAMS, ROBERT VOGEL, Case No.: 3:22-CV-01274
     SHEANNA ROGERS, MICHAEL
12   LOEB, JAQUELINE WATSON-
     BAKER, and HOUSING PROVIDERS
13   OF AMERICA, a 501(c)(4) non-profit MOTION FOR LEAVE TO FILE BRIEF OF
     Corporation,                       AMICUS CURIAE IN OPPOSITION TO
14                                      PLAINTIFFS’ MOTION FOR SUMMARY
           Plaintiff and Petitioners,   JUDGMENT
15
               v.
16
     ALAMEDA COUNTY, ALAMEDA                    Date: September 29, 2022
17   COUNTY BOARD OF SUPERVISORS,               Time: 9:30 a.m.
     CITY OF OAKLAND, OAKLAND                   Dept.: Courtroom B, 15th Flr
18   CITY COUNCIL, and DOES 1-10,               Judge: Hon. Laurel Beeler

19         Defendant and Respondents.           Compl. Filed: March 1, 2022

20

21                  MOTION FOR LEAVE TO FILE BRIEF OF AMICUS CURIAE

22           APPLICATION FOR LEAVE TO FILE BRIEF OF AMICUS CURIAE

23         Proposed amicus curiae, by and through undersigned counsel, respectfully move the

24   court for leave to file an amici curiae brief in the above-captioned matter. Intervenors

25   consent to this motion for leave to file. A copy of the proposed amicus curiae brief and a

26   proposed order are attached as Exhibits A and B, respectively.

27

28

                                                      1
                               Motion for Leave to File Brief of Amicus Curiae
                Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 2 of 15




1       I.       STANDARD FOR LEAVE TO FILE BRIEF OF AMICUS CURIAE
2             “The district court has broad discretion to appoint amici curiae.” Duronslet v. Cty. of
3    Los Angeles, No. 2:16-cv-08933-ODW(PLAx), 2017 WL 5643144, at *1 (C.D. Cal. Jan. 23,
4    2017) (citing Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982), abrogated on other
5    grounds by Sandin v. Conner, 515 U.S. 472 (1995)). Moreover, “[d]istrict courts frequently
6    welcome amicus briefs from non-parties . . . [with] unique information or perspective that
7    can help the court beyond the help that the lawyers for the parties are able to provide.”
8    Sonoma Falls Dev., LLC v. Nevada Gold & Casinos, Inc., 272 F. Supp. 2d 919, 925 (N.D.
9    Cal. 2003). The only criterion is that the applicant “make a showing that [their]
10   participation is useful to or otherwise desirable to the court.” In re Dynamic Random
11   Access Memory Antitrust Litig., No. M-02-1486-PJH, 2007 WL 2022026, at *1 (N.D. Cal.
12   July 9, 2007).
13      II.      STATEMENT OF INTEREST OF AMICUS CURIAE
14            Amicus curiae are eviction defense attorneys at the East Bay Community Law
15   Center (EBCLC) which is a direct legal services organization located in Alameda County
16   and the largest education clinic in the Bay Area. EBCLC has represented tenants in
17   eviction defense proceedings in Alameda County for the nearly 30 years, and has been on
18   the front lines of counseling and representing hundreds of tenants since the COVID-19
19   crisis began in March 2020.
20            Amicus is interested in this litigation because of our extensive experience
21   representing tenants in Alameda County and because our organization is deeply
22   concerned on the deleterious impact an injunction would have on thousands of tenants
23   throughout the County. This is particularly true given the complications associated with
24   tenants accessing the COVID-19 rent relief program – many of whom are still awaiting
25   state and local assistance with pending rent applications.
26      III.     AMICUS CURIAE’S PERSPECTIVE WILL BENEFIT THE COURT
27            Amicus’ proposed brief presents first-hand observations of the eviction proceedings
28   in Alameda County since the beginning of the pandemic in March 2020. Contrary to

                                                        2
                                 Motion for Leave to File Brief of Amicus Curiae
                Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 3 of 15




1    claims in Plaintiffs’ and Petitioner’s Rule 56 Motion, unlawful detainer actions have been
2    filed since the beginning of the pandemic. While the Alameda County and City of Oakland
3    eviction moratoria placed some limits on which unlawful detainer matters may proceed –
4    landlords have and continue to file new matters daily. According to data obtained from
5    the court, even though eviction filings were paused from March 16, 2020 through June 11,
6    2020, from June 11, 2020 through February 28, 2022, 1,109 unlawful detainers were filed.
7             Amicus has represented and counseled hundreds of tenants facing evictions since
8    the March 2020. In the past 6 months, Amicus has represented tenants in two separate
9    jury trials – one on alleging trespass through forcible detainer, and another alleging
10   criminal conduct pled as unlawful detainer.
11      IV.      CONCLUSION
12            For these reasons, Amicus requests leave to file the proposed amicus curiae brief
13   attached hereto as Exhibit A.
14

15

16   Dated: September 6, 2022                   Respectfully Submitted,
17                                              EAST BAY COMMUNITY LAW CENTER
18

19                                              /s/ Marc S. Janowitz
                                                Marc S. Janowitz
20                                              Attorney for Amicus Curiae
21

22

23

24

25

26

27

28

                                                        3
                                 Motion for Leave to File Brief of Amicus Curiae
Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 4 of 15




           Exhibit A
              Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 5 of 15




1    Marc S Janowitz (Cal. St. Bar No.: 96765)
     EAST BAY COMMUNITY LAW CENTER
2
     2921 Adeline St.
3    Berkeley, CA 94703
     t: 510-548-4040
4    f: 510-548-2566
     e: mjanowitz@ebclc.org
5

6    Attorney for Amicus Curiae, East Bay Community Law Center

7

8                              UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
10

11   JOHN WILLIAMS, ROBERT VOGEL, Case No.: 3:22-CV-01274
     SHEANNA ROGERS, MICHAEL
12   LOEB, JAQUELINE WATSON-
     BAKER, and HOUSING PROVIDERS
13   OF AMERICA, a 501(c)(4) non-profit AMICUS BRIEF
     Corporation,
14
           Plaintiff and Petitioners,
15                                              Date: September 29, 2022
               v.                               Time: 9:30 a.m.
16                                              Dept.: Courtroom B, 15th Flr.
     ALAMEDA COUNTY, ALAMEDA                    Judge: Hon. Laurel Beeler
17   COUNTY BOARD OF SUPERVISORS,
     CITY OF OAKLAND, OAKLAND     Compl. Filed: March 1, 2022
18   CITY COUNCIL, and DOES 1-10,

19         Defendant and Respondents.

20

21

22             INTRODUCTION

23         By this motion, Amicus, East Bay Community Law Center, petitions for permission

24   to present its arguments in opposition to Plaintiff’s Motion for Summary Judgment. As

25   more fully explained below, Amicus is uniquely positioned to comment on the effects the

26   Moratoria at issue have on property owners’ abilities to recover possession of real

27   property, and their effect over all on the litigation of issues of possession generally. For

28   these reasons we offer value to the court as it engages with the issues presented, and

                                                    1
                                               Amicus Brief
             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 6 of 15




1    respectfully request permission to file our Amicus Brief in Support of Opposition to
2    Plaintiff’s Motion for Summary Judgment.
3              STATEMENT OF INTEREST OF AMICUS CURIAE
4          Amicus curiae has an interest in the underlying litigation because since the COVID-
5    19 Emergency Moratoria have been enacted in County of Alameda and City of Oakland
6    Moratoria we have been representing occupants of housing in the county who are directly
7    impacted by these ordinances. We are eviction defense attorneys in the Housing Practice
8    of the East Bay Community Law Center (EBCLC). EBCLC is a non-profit, direct legal
9    services organization serving the community of low-income occupants of housing in
10   Alameda County. We are the largest provider of free legal services to income-eligible
11   communities in Alameda County and have been representing low-income occupants of
12   housing for more than 30 years. In the past few years we have counseled on average more
13   than 1,000 tenants annually. Through our affiliation with the University of California, at
14   Berkeley Law, we are the largest legal education clinic in the Bay Area. In these
15   capacities we have been on the front lines of counseling and representing hundreds of
16   occupants since the COVID-19 crisis began in March 2020. EBCLC litigates the entire
17   gamut of housing-related issues.
18         During the COVID-19 pandemic period we have represented and counseled
19   hundreds of clients in housing related cases in court, and in out of court negotiations.
20   Based on our experience we are aware of the factual and legal trends that course through
21   the litigation. We are aware of the influence the current Alameda County and City of
22   Oakland Moratoria have on these trends, and how they impact the everyday lives of all
23   parties to these disputes.
24         Amicus is interested in this litigation because of our extensive experience
25   representing tenants in Alameda County and because our organization is deeply
26   concerned about the deleterious impact an injunction would have on thousands of tenants
27   throughout the County. This is particularly true given the complications associated with
28

                                                   2
                                              Amicus Brief
              Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 7 of 15




1    tenants accessing the COVID-19 rent relief program – many of whom are still awaiting
2    state and local assistance with pending rent applications.
3                AMICUS CURIAE’S PERSPECTIVE WILL BENEFIT THE COURT
4          Amicus’ staff have first-hand experience in eviction proceedings in Alameda County
5    since the beginning of the pandemic in March 2020. Among the many cases in which we
6    have represented and counseled occupants facing evictions since the March 2020, we have
7    represented occupants in two separate jury trials – one in which the allegations were
8    trespass through forcible detainer, and another alleging criminal conduct pled as unlawful
9    detainer.
10         As court records demonstrate, and contrary to claims in Plaintiffs’ and Petitioner’s
11   Rule 56 Motion, unlawful detainer actions, and other causes of action to recover possession
12   of real property, have been filed and litigated to finality, since the beginning of the
13   pandemic. While the Alameda County and City of Oakland eviction Moratoria placed
14   some limits on which matters for possession may proceed, mostly by preventing cases for
15   non-payment of rent to proceed, other cases proceed unimpeded. Landlords have and
16   continue to file new matters daily. According to data obtained from the court, even though
17   eviction filings were paused from March 16, 2020 through June 11, 2020, from June 11,
18   2020 through February 28, 2022, 1,109 unlawful detainers were filed. A review of the
19   weekly calendars of Department 511 of the Alameda County Superior Court reveals they
20   are filled with eviction cases proceeding apace. To suggest these ordinances prevent
21   property owners from suing to recover possession of property alleged to be unlawfully
22   retained by occupants is simply false.
23
                 THE STATE HAS CREATED A NEW STATUTORY SCHEME FOR
24
                 PROPERTY OWNERS TO COLLECT COVID-RELATED RENT DEBT.
25
           In the context of Plaintiffs’ motion and argument, it is noteworthy that the State of
26
     California has expanded the statutory scheme for the recovery of COVID-related rent
27
     debt. The legislature has revamped the small claims system to accommodate issues
28

                                                    3
                                               Amicus Brief
                Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 8 of 15




1    related to recovery of COVID-related rent debt, which include increased jurisdictional
2    maximums, and created specific procedures for such actions. Please see Cal. Code Civ.
3    Proc. §§ 116.223, 871.10, 1179.02, 1179.2.5, and Health and Safety Code § 50897.3. In our
4    experience, property owners are pursuing their remedies in these forums to recover
5    unpaid rent to which they are entitled.
6               ARGUMENT
7               A. The Moratoria Allow Evictions.
8          Plaintiffs argue the Alameda County Moratorium constitutes an unconstitutional
9    taking of their property because they “outlaw virtually all evictions in Alameda County
10   and the City of Oakland by providing renters – or any occupants of rental property – an
11   ‘absolute defense’ to almost all unlawful detainer proceedings.” (Plaintiffs’ Memorandum,
12   p. 3:4-6. Hereafter Ps’ MPA). Plaintiffs further allege: “It does not matter whether the
13   occupant is a tenant or an illegal squatter. Nor does it matter whether that individual
14   refuses to pay rent, destroys the premises, or engages in criminal activity.” (Ps’ MPA, p.
15   3:16-18.). Plaintiffs go on: “Defendants’ regulations grant possession to all occupants of
16   rental properties. Being an occupant is the only criteria and there is no distinction
17   between lawful tenants, those who have violated the material terms of their leases, and
18   illegal squatters (all referred to as “occupant(s)”)). (Ps’ MPA, p. 10:22-24). And further,
19   they posit: “How the occupant took possession and the facts of what took place afterwards
20   are irrelevant.” (Ps’ MPA, p. 10:25).
21         These statements are simply untrue. They are specifically contradicted by the
22   express wording of the ordinances under examination. The numerous cases on the court’s
23   weekly docket belie these bald unsupported assertions.
24
           i.      The Alameda County Moratorium, Alameda County Ordinance Code
25
                   6.120.020 protects tenant, not trespassers.
26         An examination of the definitions of these ordinances reveal who they cover and
27   who they do not. Tenants, that is, those who occupy pursuant to mutually consented
28   agreement with owners, are covered by these ordinances. However, as set forth below,
                                                    4
                                               Amicus Brief
              Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 9 of 15




1    when these lawful occupants engage in conduct that creates an imminent threat to health
2    and safety, they lose protections.
3          The Alameda County Moratorium uses the following definitions.
4
           A. "Affected Resident" shall mean a Tenant, Homeowner or their Household, that
5             has experienced a Qualifying Loss.

6          K. "Resident" shall mean a Tenant, Homeowner or their Household. This term
           includes but is not limited to Affected Residents.
7

8          M. "Tenant" means a residential tenant, subtenant, lessee, sublessee, or any other
           person entitled by written or oral rental agreement, or by sufferance, to use or
9          occupancy of a Residential Unit.
10   The flaw in Plaintiffs’ augment is that the squatter or trespasser is not a “Tenant” under

11   the ordinance. The squatter or trespasser, by definition, does not occupy under any

12   agreement to use the unit. See Ralphs Grocery Co. v. Victory Consultants, Inc. (2017) 17

13   Cal.App.5th 245, 261-262. These individuals may be evicted pursuant to Cal. Code. Civ.

14   Proc. §§1159 and/or 1160, the cause of action for forcible entry and/or detainer. These

15   statutes specifically exist to evict the trespasser or squatter. In our experience, they have

16   been evicted against assertions of defenses of protections by the Moratoria. (It must be

17   noted attorney-client privileges as well as legislative mandates of masking of court records

18   pursuant to Cal. Cal. Code. Civ. Proc. § 1161.2 limit more specific information.)

19
           ii.     The Alameda County Moratorium, Alameda County Ordinance Code
20
                   6.120.030 allows eviction in the event the resident poses an imminent
21                 threat to health or safety.

22         The exceptions in the County Ordinance make clear, the occupant, regardless of

23   status; lawful tenant or trespasser, may be evicted if they engage in the conduct Plaintiffs

24   warn about:

25         F. Exceptions. The Landlord or Lender claiming that their proposed eviction is
           not prohibited by this chapter shall have the burden of proving that one or more
26         of the exceptions applies. The provisions of this section shall not apply in the
27         following circumstances, which must be stated by in the Notice of Termination
           and the complaint as the grounds for the eviction:
28

                                                   5
                                              Amicus Brief
             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 10 of 15




           1) A Landlord is taking the Residential Unit off of the residential rental market
1
           in accordance with Government Code Section 7060, et seq. (Ellis Act) and in
2          compliance with any applicable local ordinances.

3          2) The Residential Unit must be vacated to comply with an order issued by a
           government agency or court.
4

5          3) Continued occupancy by the Resident poses an imminent threat to health or
           safety. For the purposes of this chapter, the basis for this exception cannot be the
6          Resident's COVID-19 illness or exposure to COVID-19, whether actual or
           suspected.
7

8          In our practice at EBCLC we have seen a broad array of conduct asserted under the
9    “exception” section of “imminent threat to health or safety” of the Alameda County
10   Moratorium to support allegations of eviction under Cal. Code. Civ. Proc. §§1159, 1160,
11   and the unlawful detainer statutes 1161, subd. 3 and 4. A casual look will find them filling
12   the Alameda County Superior Court calendar every Monday, Tuesday, and Wednesday, in
13   Department 511. The Plaintiff in the eviction actions still has the burden to prove the
14   truth of the “health and safety” allegations. In our experience at EBCLC litigating these
15   cases, sometimes they are able to bear that burden. Sometimes not.
16

17         iii.   Under the City of Oakland Moratorium, if the “tenant” poses an
                  imminent threat to health or safety” the “tenant” may be evicted.
18
           The City of Oakland’s moratorium contains substantially the same language as set
19

20   forth above in the County Moratorium with respect to imminent threat. If the one to be

21   removed is a “tenant”, that person may be evicted under the exception to the ordinance.
22
     (See section 3 of the ordinance: “Except when the tenant poses an imminent threat to the
23
     health or safety of other occupants of the property, and such threat is stated in the notice
24
     as the grounds for eviction, … .”). Contrary to Plaintiffs’ assertions, if the tenant engages
25

26   in the conduct Plaintiffs present in their parade of horrors, (i.e., if they “destroy and

27   commit nuisances on housing providers” (Ps’ MPA, p.3:8), “conduct criminal acts on
28
     properties” (Ps’ MPA, p.3:9), “destroy the premises” (Ps’ MPA, p.3:18), “engage in criminal
                                                    6
                                               Amicus Brief
             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 11 of 15




     activity” (Ps’ MPA, p.3:18), “violate material terms of their leases” (Ps’ MPA, p.10:24), are
1

2    “illegal squatters” (Ps’ MPA, p.10:24), “destroy the property” (Ps’ MPA, p.10:26), “harass

3    neighbors” (Ps’ MPA, p.10:26), “or take unauthorized possession in the dead of night” (Ps’
4
     MPA, p.10:27)), these occupants, lawful tenants, or illegal trespassers, may be evicted.
5
     Neither Moratoria here challenged will prevent the owner from proceeding to evict.
6
     Likewise, the Moratoria do not protect the tenant who engages in threats to health or
7

8    safety. Plaintiffs’ hysterical pleas to the contrary are false.

9          B. Plaintiff’s arguments that Defendants’ regulations are a physical taking
              is misleading and legally inaccurate.
10

11         Plaintiffs argue at MPA p. 13:6-8 that “Defendants’ exercise of this property right

12   authorizes possession in all occupants regardless of whether residency was gained by
13
     virtue of a lease, or as an illegal squatter, or anything in between.”
14
           First, as stated above, when the property owner voluntarily enters into a lawful
15
     landlord-tenant rental agreement with a tenant, if the lawful tenant thereafter engages in
16

17   conduct creating an imminent threat, the owner may proceed to evict. There is no exercise

18   of the municipal entities’ property right to protect that occupant. Second, if a squatter or
19
     illegal trespasser unlawfully enters a dwelling, neither of the challenged Moratoria has
20
     authorized such criminal conduct, and neither will protect the individual. Thus,
21
     Defendants’ ordinances have not authorized anything, and certainly not any taking within
22

23   the meaning of the Fifth Amendment. Third, if the one to be removed is a trespasser or

24   squatter, as argued above, they are not among the categories of occupants protected by the
25
     ordinances. They can be removed upon proof of their status, just as in any civil action
26
     pursuant to Code Civ. Proc. §§ 1159/1160 to evict the trespasser, Moratoria or none.
27

28

                                                     7
                                                Amicus Brief
             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 12 of 15




           C. The Moratoria do not allow the permanent physical occupation by
1
              others, and forever displacement of the owners.
2          Citing Loretto v. Teleprompter Manhattan CATV Corp. (1982) 458 U.S. 419,
3    Plaintiffs argue “the permanent physical occupation of property forever denies the owner
4    any power to control the use of the property.” Plaintiffs then leap to a conclusion that
5    “here, owners cannot freely use their property because they are beholden to occupants that
6    cannot be forced to leave.” Ps’ MPA, p.15:9-14.
7          Notwithstanding that Plaintiffs’ quote is not the holding of Loretto, Plaintiffs’
8    reference is a gross misrepresentation of what these ordinances do, and do not do.
9    Plaintiffs’ assertion the Moratoria allow some kind of permanent denial of the owners of
10   any use of their property is false. As argued above, these ordinances allow eviction of the
11   illegal occupant, as well as the lawful occupants who engage in behavior that is an
12   imminent threat to health or safety.
13         There is no issue of permanent denial of use. In fact, in California numerous laws
14   create statutory scheme for the speedy recovery of property alleged to be unlawfully or
15   forcibly detained.
16         By statute, forcible entry, forcible detainer, and unlawful detainer cases have
17   priority above all other civil cases on the trial calendars. See Cal. Code Civ. Proc. § 1179a.
18   They are required to be set for trial 20 days after a request to set is filed. See Cal. Code
19   Civ. Proc. § 1170.5. To enforce the summary nature of the eviction proceedings, no cross
20   complaints are allowed, and only "issues directly relevant to the ultimate question of
21   possession" may be raised in defense of an unlawful detainer action. Green v. Superior
22   Court (1974) 10 Cal. 3d 616, 634. Generally, counterclaims, cross-complaints and
23   affirmative defenses cannot be considered. Union Oil Co. v. Chandler (1970) 4 Cal. App. 3d
24   716, 721. All these protect Plaintiffs’ ability to recover possession of their property in
25   numerous cases permitted by the ordinances. Any argument the regulations result in a
26   permanent physical taking in violation of the constitution is incorrect and inconsistent
27   with the plain wording of the ordinances.
28

                                                    8
                                               Amicus Brief
             Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 13 of 15




1          Thus, when the elements and conditions of the applicable ordinances can be proved,
2    the owners are free to evict, following the same procedures as all owners in the State of
3    California must follow.
4              CONCLUSION
5          Plaintiffs fail to account for the plain wording of the challenged ordinances. They
6    side step and do not address the ordinances accommodations of the precise “worst case
7    scenarios” they claim will result in the destruction of their interests as owners of real
8    property. To the contrary, a reading of these regulations reveals they carefully and
9    precisely account for all of these scenarios Plaintiffs present. As such, the Moratoria do
10   not result in any taking what so ever. They come squarely within constitutional
11   strictures, and the long-standing statutory frameworks of landlord and tenant law in our
12   state which have withstood numerous constitutional challenges. Plaintiffs’ motion should,
13   therefore, be denied.
14

15

16   Dated: September 6, 2022                Respectfully Submitted,
17                                           EAST BAY COMMUNITY LAW CENTER
18

19                                             /s/ Marc S. Janowitz
                                             Marc S. Janowitz
20                                           Attorney for Amicus Curiae
21

22

23

24

25

26

27

28

                                                   9
                                              Amicus Brief
Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 14 of 15




           Exhibit B
            Case 3:22-cv-01274-LB Document 79 Filed 09/06/22 Page 15 of 15




1

2

3

4

5

6

7

8                             UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
10

11   JOHN WILLIAMS, ROBERT VOGEL, Case No.: 3:22-CV-01274
     SHEANNA ROGERS, MICHAEL
12   LOEB, JAQUELINE WATSON-
     BAKER, and HOUSING PROVIDERS
13   OF AMERICA, a 501(c)(4) non-profit [PROPOSED] ORDER GRANTING MOTION
     Corporation,                       FOR LEAVE TO FILE AS AMICUS CURIAE
14
           Plaintiff and Petitioners,
15
              v.                  Date: September 29, 2022
16                                Time: 9:30 a.m.
     ALAMEDA COUNTY, ALAMEDA      Dept.: Courtroom B, 15th Flr
17   COUNTY BOARD OF SUPERVISORS, Judge: Hon. Laurel Beeler
     CITY OF OAKLAND, OAKLAND
18   CITY COUNCIL, and DOES 1-10, Compl. Filed: March 1, 2022

19         Defendant and Respondents.

20

21

22         The East Bay Community Law Center’s motion for leave to file an amicus curiae

23   brief file is GRANTED.

24         IT IS SO ORDERED.

25

26   Dated: ___________
                                          Laurel Beeler
27                                        United States District Judge
28
